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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

AMERICAN FEDERATION OF                       Case No. 8:25-cv-00430
TEACHERS, et al.,

             Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

             Defendants.

             DECLARATION OF CLIFFORD “BUZZ” GRAMBO
                  IN SUPPORT OF MOTION FOR TRO

I, Clifford “Buzz” Grambo, declare as follows:

1.​ I am over the age of 18 and have personal knowledge of the facts in this
    declaration.

2.​ I live in Maryland and am currently retired.

3.​ I am a military veteran. I served in the U.S. Navy for 20 years, retiring as Chief
    Petty Officer.

4.​ I currently receive financial benefits from the federal government, including
    veterans’ disability compensation and a military pension, both from the
    Veterans Administration.

5.​ As a result of my military service and the financial benefits I receive, federal
    government agencies, including the Department of Treasury, have sensitive
    personal information about me in their record systems.

6.​ At the Department of Treasury, this information includes my social security
    number, date of birth, bank account information, and home address.

7.​ I provided this personal information in order to access essential services like
    disability payments and my military pension. When I provided the information,
    I expected that the data would be used to facilitate my access to these services
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    and only for legally authorized purposes. I also expected that the government
    would zealously safeguard access to that information.

8.​ I feel that my right to privacy has been violated by the government’s choice to
    disclose information to DOGE representatives, who appear to be using it for
    purposes that have nothing to do with why I provided the data. I did not request
    disclosure of my personal information to DOGE representatives or provide
    written access authorizing such disclosure. My concerns are amplified because,
    based on news reports, at least some of the DOGE representatives are recent
    high school graduates or college students with a checkered history on data
    security. Further, I am concerned about the potential disclosure of my
    information to AI tools and software.

9.​ I worry that the unauthorized disclosure of my personal information makes it
    more likely that I will be targeted for doxxing, identity theft schemes, or other
    harmful uses of my data.

10.​I am also deeply offended by the federal government facilitating this
    unauthorized disclosure of my personal information. It is a violation of the rule
    of the law for the government to enable access of my personal information to an
    unelected so-called “department” head who appears to be a threat to national
    security and the DOGE representatives who do not seem to have been subjected
    to an actual background check. This lawlessness by the federal government
    betrays the democratic values I sought to protect through my military service.

I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 11, 2025.​ ​           ​    ​      ​

​      ​     ​      ​     ​      ​        ​    ____________/s/*___________
​      ​     ​      ​     ​      ​        ​    Clifford “Buzz” Grambo

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.
